                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                               AT CHATTANOOGA

UNITED STATES OF AMERICA                       )
                                               )        Case No. 1:15-cr-123
v.                                             )
                                               )        Judge Travis R. McDonough
CHRISTY VINCENT                                )
                                               )        Magistrate Judge Susan K. Lee
                                               )


                                            ORDER



       Magistrate Judge Susan K. Lee filed a report and recommendation recommending that the

Court: (1) grant Defendant’s motion to withdraw her not-guilty plea to Count One of the eight-

count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

decision on whether to accept the plea agreement until sentencing; and (5) order that Defendant

remain on bond under appropriate conditions of release pending sentencing in this matter. (Doc.

31.) Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with the magistrate judge’s report and recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

recommendation (Doc. 31) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)    Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

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              and                   Document 32 Filed 07/11/16            Page 1 of 2     PageID
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    (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

          pending sentencing in this matter which is scheduled to take place on October 7,

          2016 at 2:00 p.m. [EASTERN] before the Honorable Travis R. McDonough.

    SO ORDERED.

    ENTER:




                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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